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Case: 2:22cv2349   Doc: 57




Joseph Diaz Jr.
250 North College Park Drive,   Unit i13
Upland, CA 91786
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  TEXT ONLY ENTRY by Judge Maame Ewusi-Mensah Frimpong. The Order to Show Cause
  hearing set for 04/13/2023[46] is vacated by the Court. IT IS SO ORDERED.THERE IS NO
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